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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



U.S. BANK NATIONAL
ASSOCIATION,

      Plaintiff,                        CIVIL ACTION FILE

v.                                      NO. 1:20-cv-1009-TCB

SANDRA B. WILLIAMS,

      Defendant.



                               ORDER

     This case comes before the Court on Magistrate Judge Justin S.

Anand’s final report and recommendation (the “R&R”) [3], which

recommends remanding this action to the Magistrate Court of Rockdale

County. Williams has filed objections [7].

     A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,

677 F.2d 404, 408 (5th Cir. Unit B 1982)). This review may take
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different forms, however, depending on whether there are objections to

the R&R. The district judge must “make a de novo determination of

those portions of the [R&R] to which objection is made.” 28 U.S.C. §

636(b)(1)(C). In contrast, those portions of the R&R to which no

objection is made need only be reviewed for “clear error.” Macort v.

Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006) (per curiam) (quoting

Diamond v. Colonial Life & Accident Ins., 416 F.3d 310, 315 (4th Cir.

2005)).1

      After conducting a complete and careful review of the R&R, the

district judge “may accept, reject, or modify” the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge “may also receive further evidence or



      1 Macort dealt only with the standard of review to be applied to a magistrate’s
factual findings, but the Supreme Court has indicated that there is no reason for
the district court to apply a different standard to a magistrate’s legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely reviewed both legal and factual conclusions for clear error. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373–74 (N.D. Ga. 2006) (collecting cases). This is
to be contrasted with the standard of review on appeal, which distinguishes
between the two. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(holding that when a magistrate’s findings of fact are adopted by the district court
without objection, they are reviewed on appeal under a “plain error standard” while
questions of law always remain subject to de novo review).

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recommit the matter to the magistrate judge with instructions.” 28

U.S.C. § 636(b)(1)(C).

     The R&R recommends remanding this action to the Magistrate

Court of Rockdale County because it is a dispossessory action over

which the Court lacks jurisdiction. The Court agrees. To the extent

Williams argues in her objections that she seeks to assert a

counterclaim or defense raising a federal question, such an argument

fails. Neither can serve as the basis for federal question jurisdiction. See

Citimortgage, Inc. v. Dhinoja, 705 F. Supp. 2d 1378, 1381 (N.D. Ga.

2010) (“If a federal question is not presented on the face of the

complaint, ‘it is no substitute that the defendant is almost certain to

raise a federal defense.’”); Holmes Grp., Inc. v. Vornado Air Circulation

Sys., Inc., 535 U.S. 826, 832 (2002) (“Allowing a counterclaim to

establish ‘arising under’ jurisdiction would also contravene the

longstanding policies underlying our precedents.”). Further, because

Williams is a Georgia citizen she cannot remove this action based on

diversity jurisdiction.




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      The Court agrees with the findings of the R&R [3] that the

underlying matter is a state dispossessory action over which the Court

lacks jurisdiction. Accordingly, the Court overrules Williams’s

objections [7] and adopts as its order the R&R [3]. The Clerk is directed

to remand this action to the Magistrate Court of Rockdale County and

to close this case.

      IT IS SO ORDERED this 25th day of March, 2020.



                                   ___________________________________
                                   Timothy C. Batten, Sr.
                                   United States District Judge




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